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              ǻIN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


SECURITIES AND EXCHANGE                            CIVIL ACTION NO.
COMMISSION,                                         1:21-CV-3413-SDG

                    Plaintiff,

v.

JOHN J. WOODS, ET AL.,

                        Defendants,


                      RECEIVER’S SECOND REPORT

      A. Cotten Wright as Receiver (the “Receiver”) for assets of Defendant

Horizon Private Equity, III, LLC (the “Horizon Assets”) and the ownership interests

that Defendant John J. Woods (“Woods”) has in the following assets: (i) Livingston

Group Asset Management Company d/b/a Southport Capital (“Southport Capital”)

and its holding company, Livingston Southport Investors, LLC (the “Southport

Capital Interests”), (ii) Lakewood Ranch Risk Management LLC d/b/a Southport

Capital Risk Management (the “Southport Capital Risk Management Interests”), and

(iii) Chattanooga Professional Baseball, LLC (the “Chattanooga Baseball Interests,”

and together with the Southport Capital Interests and the Southport Capital Risk
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Management Interests, the “Woods Assets”), files this Receiver’s Second Report

(this “Report”) pursuant to this Court’s Order Appointing Receiver (the

“Receivership Order”) entered on September 1, 2021 (Doc. No. 26).1 The Horizon

Assets and the Woods Assets are referenced together herein as the “Receivership

Assets” or the “Receivership Estate.” This report details the Receiver’s activities

for the period of October 1, 2021 through December 31, 2021 (the “Reporting

Period”) in conformance with paragraphs 54 and 55 of the Receivership Order.

      I.    SUMMARY OF RECEIVER’S ACTIVITIES

      A.    Summary of Operations.

      By the date of the Receivership Order, Horizon had permanently ceased

operations except for operating two rental properties, discussed further below. As

for the Woods Assets, the Receiver has no authority to manage the operations of the

underlying business ventures pursuant to Receivership Order.

      (1)   Receivership Operations. Early in the case, the Court entered Orders

approving the Receiver’s applications to employ the law firms of Ragsdale Beals

Seigler Patterson & Gray, LLP and Grier Wright Martinez, PA to represent her in



1
      On September 10, 2021, the Court entered its Order Amending Order
Appointing Receiver to Correct Typographical Errors correcting errors in the name
of Livingston Group Asset Management Company d/b/a Southport Capital and the
Receiver’s name, A. Cotten Wright. (Doc. No. 53).

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this case. The Receiver also engaged the firm of Middleswarth, Bowers & Co.,

L.L.P. as her accountants and Stretto, Inc. to provide certain software, noticing,

website, and electronic case management services. The Receiver set up a dedicated

phone line for the calls from investors at 704-332-0216 and created an email address

for the receivership (the “Receivership”) at horizonreceivership@grierlaw.com.

Court pleadings are available at horizonreceivership.com.

      The Receiver determined that additional professional assistance with

evaluating certain of the Receivership Assets would be beneficial to the

Receivership Estate. On October 21, 2021, the Court authorized the Receiver to

extend the previously approved engagement of Middleswarth, Bowers & Co. to

include business valuation services. (Doc. No. 83). On October 27, 2021, the Court

granted the Receiver’s motion for authority to engage Great Neck Realty Company

of North Carolina, LLC to serve as the Receiver’s advisor with respect to real

property issues. (Doc. No. 87).

      On October 1, 2021, the Receiver filed her proposed liquidation plan setting

out a process for liquidating Receivership Assets (the “Liquidation Plan”). (Doc.

No. 72). The Liquidation Plan provides for notice to investors of any proposed sale

or disposition of Receivership Property. The Liquidation Plan was approved by the

Court in an Order entered on October 21, 2021. (Doc. No. 82).


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      During the Reporting Period, the Receiver’s attorneys arranged to have copies

made of certain of the computer hard drives, email accounts, and/or files on a shared

server of employees of Southport Capital and Lakewood Ranch Risk Management,

d/b/a Southport Capital Risk Management (“Southport Capital Risk Management”).

That project was in the final stages as of the end of the Reporting Period.

      (2)    Rental Property Operations. Horizon is the owner of two real property

assets (the “Real Properties”) both of which are leased to Southport Capital. One of

those is an office condominium in Atlanta, Georgia (the “Atlanta Office”) located at

3621 Vinings Slope SE, Suite 4450, Atlanta, Georgia, 30339, and the other consists

of a building located at 112 Mill Street, Greenville, KY, 42345 (the “Greenville

Office”). During the Reporting Period, the Receiver collected rent due on the leases

for both Real Properties. In turn, the Receiver paid property taxes on both the Real

Properties, made loan payments, and paid the condominium association fees due on

the Atlanta Office.2 The Receiver also secured property insurance to cover any

potential loss to the Atlanta Office and the Greenville Office.3

      (3)    Accounting. The Receivership Order charges the Receiver with



2
      The lien on the Atlanta Office is held by IBERIABANK. To the best of the
Receiver’s knowledge, the Greenville Office is not encumbered by any liens.
3
      Following an insurance inspection, the Receiver arranged for certain repairs
to be made at the Greenville Office property.

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preparing:

      an initial accounting of all funds received by the defendants pursuant to
      the scheme described in the Commission’s Complaint and of the
      disposition and use of said proceeds (the “Initial Accounting”) . . . [to]
      include . . . the name and address of each investor in [Horizon] from
      2008 to the present; the amount each investor invested in [Horizon] and
      the dates of each investment; the total amount received from investors
      in [Horizon]; all amounts returned to investors in [Horizon] and the
      dates of each interest payment or return of capital; and an explanation
      of what happened to any investors funds that were not returned to
      investors to the extent practicable.

(Doc. No. 26, p. 27.) The Initial Accounting was to be completed within 90 days of

the Receivership Order, which resulted in a deadline of November 30, 2021. (Doc.

No. 26, p. 27.) However, the Receiver was given leeway to request that the SEC

consent to an additional 90-day extension (Doc. No. 26, pg. 27), and in a

teleconference on November 15, 2021, the SEC did so consent. Any further request

would require Court approval, but the Receiver expects that her accountants will be

able to complete the Initial Accounting within the current timeline.

      Although, the Receivership Order sets the challenging task of recreating each

Investor transaction with Horizon back fourteen (14) years, the Receiver’s

accountants had made significant progress working through the available records by

the end of the Reporting Period. The documents that the accountants have been

reviewing include records that were provided by the SEC after the Receivership

Order was entered; documents provided in response to subpoenas served on banks

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and Provident Trust Group (“Provident Trust”); and John Woods’ Quicken files for

Horizon. On the final day of the Reporting Period, the Receiver’s accountants

provided her with a list of additional documents to request by subpoena or otherwise.

      The accountants’ task has been made more difficult because the Quicken files

for Horizon funds are incomplete and lack detail. In addition, because banks do not

maintain files past seven years, banking information for the entire 14-year period

will not be available.

      B.     Cash on Hand.

      On September 9, 2021, the Receiver established an account for the

Receivership Estate at Metropolitan Commercial Bank, N.A. (the “Receivership

Account”), which account is insured to the maximum extent permitted by the

F.D.I.C. The funds in the Receivership Account at the close of the Reporting Period

totaled $16,796,195.06 and were not encumbered by liens.

      During the Reporting Period, the Court entered Orders allowing applications

for compensation relative to the prior reporting period that were filed on behalf of

the Receiver’s professionals. All approved fees and expenses have been paid such

that as of the close of the Reporting Period, there were no unpaid administrative

expenses that had been approved by the Court.




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      C.     Receipts and Disbursements

      A report as to Receivership Account’s receipts and disbursements through

December 31, 2021 is attached as Exhibit A.

      D.     Description of Known Receivership Property.

      Exhibit B consists of a list of the Receivership Assets as of the close of the

Reporting Period. Except to the extent that an asset has been liquidated, the Ex. B

values reflect Woods’s estimates and any information about liens that the Receiver

has obtained thus far.4 The Receiver and her team devoted substantial time during

the Reporting Period to gathering and confirming information as to the Horizon

Assets, and while those efforts are continuing, the Receiver has begun efforts to

liquidate Receivership Assets.

      The Receiver’s initial source for information about the Horizon Assets was a

chart prepared by Woods listing the assets and his estimate of their value. The

Receiver was informed that, in certain instances, Woods’s valuations were based on

the estimated net completion values of the projects in which Horizon funds were

invested rather than on their value as of the date of the Receivership Order. During



4
       The asset values shown on Ex. B reflect only the value of Horizon’s interests
in the assets, which in most cases are only fractional interests; however, the lien
amounts shown reflect the full extent of any liens on the assets without regard to the
fractional nature of Horizon’s ownership interests.

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the Reporting Period, however, Woods’s attorneys sent the Receiver updated values

based on the net amount invested in the assets as well as information about certain

additional assets. In sum, except to the extent that an asset has been liquidated,5 the

values reflected here and in Ex. B were provided by Woods and do not necessarily

reflect actual market value.

      The asset list is continuously updated as the Receiver either learns more about

the values of the assets or as assets are liquidated. The following is a brief

description of the status of the Receivership Assets as of the close of the Reporting

Period:

      Horizon Assets

             (1)      Bank Funds. During a prior reporting period, the Receiver

      obtained turnover of funds held in accounts owned by Horizon at TD

      Ameritrade and IBERIABANK as set out in Ex. A. The Receiver has not

      identified any additional funds on deposit in Horizon’s name.

             (2)      Real Property. There are two parcels of real property owned by

      the Receivership Estate located in Atlanta, Georgia and Greenville, Kentucky,

      respectively.



5
       An asset liquidation is shown as a sale on Ex. B, and the funds obtained for
each liquidated asset are listed as deposits on Ex. A.

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           (a)     Atlanta Office. Again, as noted above, the Receivership

     Estate owns an office condominium in Atlanta that is leased to

     Southport Capital for $6,000.00 per month. Unless Southport Capital

     expresses an intention to vacate this property beforehand, the Receiver

     anticipates that disposition of the Atlanta Office will be tied to the

     liquidation of the Southport Capital Interests. In the meantime, the

     Receiver will continue to collect rent, pay the condominium association

     fees, make the monthly mortgage payments, and pay property taxes as

     required.

           (b)     Greenville Office.    The Receivership Estate owns a

     building in Greenville, KY that is leased to Southport Capital for

     $1,500.00 per month. During the Reporting Period, the Receiver paid

     city and county taxes on the Greenville Office property, as well as

     insurance premiums, and some repair costs necessitated by an insurance

     inspection.

           On December 28, 2021, the Receiver filed a motion for authority

     to sell the Greenville Office property for a sale price of $110,000 (Doc.

     No. 118), which reflected a discount from the estimated market value

     of the property based on an engineer’s report that revealed significant


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      issues with the condition of that property. The Receiver is holding a

      $5,500.00 down payment toward that proposed sale. Any overbids for

      this asset are due on or before January 19, 2022.           Because, on

      information and belief, the Greenville Office is not subject to any liens,

      the bulk of the purchase price will be deposited to the Receivership

      Account.

      (3)    Investments    in   Limited    Liability   Companies,     Limited

Partnerships, and Private Equity Funds. Horizon funds were invested in a

number of limited liability companies that, in turn, hold interests in projects

in varying stages of development. In addition, Horizon funds were invested

in certain limited partnerships and private equity funds. The information

below reflects a summary of such assets listed on Ex. B as of the close of the

Reporting Period.

             (a)    Athletafied / RecruitU. The Receivership Estate owns a

      47.5% interest in Hardwood, LLC,          which in turn owns a 25%

      investment interest in a sports data collection company that tests the

      skills of high school athletes. According to information received from

      Woods on October 15, 2021, the initial investment in this entity was

      $110,000, and Horizon made a loan to the entity for $343,000, bringing


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            Woods’ estimated value for Horizon’s net investment in this asset to

            $453,000.

                  (b)    Battlefield Parkway Partners, LLC. The Receivership

            Estate owns a 50% interest in this entity that owns a strip center located

            at 2705 Battlefield Pkwy, Fort Oglethorpe, GA. This development

            project is subject to a lien of more than $5 million held by First

            Volunteer Bank. On October 15, 2021, Woods provided a value for

            Horizon’s net investment in this asset of $924,782.84.

                  (c)    BI Developments LLC. The Receivership Estate owns a

            40% interest in an entity formed to redevelop a former JC Penny store

            in Chattanooga, TN.6 This development project is subject to a $1.6

            million lien held by First Volunteer Bank. On October 15, 2021,

            Woods provided a value for Horizon’s net investment in this asset of

            $473,008.33.

                  (d)    BI Developments II, LLC. The Receivership Estate owns

            a 50% interest in an entity formed to redevelop a former Sears store in




6
       The Receiver was told previously that the Receivership Estate held a 50%
interest in BI Developments LLC.

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            Chattanooga, TN.7 This development project is subject to a $2.9

            million lien held by First Volunteer Bank. On October 15, 2021,

            Woods provided a value for Horizon’s net investment in this asset of

            $1,206,580.

                  (e)      BI Developments III, LLC. The Receivership Estate owns

            a 70% interest in an entity formed to develop a parking area adjacent to

            a former Logan’s Restaurant in Chattanooga, TN. This development

            project is subject to a $377,042 lien held by First Volunteer Bank. On

            October 15, 2021, Woods provided a value for Horizon’s net

            investment in this asset of $126,000.

                  (f)      Birchwood II, LLC. The Receivership Estate owns a 30%

            interest in an operating landfill in Hamilton County, TN. This project

            is subject to a $1.6 million lien held by Pinnacle Bank. On October 15,

            2021, Woods provided a value for Horizon’s net investment in this asset

            of $330,874.

                  (g)      BW Hunting Club, LLC. The Receivership Estate holds a

            50% interest in entity that owns property adjacent to the landfill owned



7
       The Receiver was told previously that the Receivership Estate held a 40%
interest BI Developments II, LLC.

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     by Birchwood II, LLC, in Hamilton County, TN. On October 15, 2021,

     Woods provided a value for Horizon’s net investment in this asset of

     $121,950.36.

           During the Reporting Period, the holder of the other 50% interest

     in this asset offered to purchase the Receivership Estate’s interest for a

     purchase price of $151,935.00. On December 1, 2021, a wire for

     $25,000.00 was deposited to the Receivership Account as a down

     payment toward that offer. On December 8, 2021, the Receiver filed a

     motion to approve the sale of the interest in BW Hunting Club to the

     joint interest holder (Doc. No. 112); that motion was granted by entry

     of an Order on December 29, 2021 (Doc. No. 119). The remaining

     payment on the purchase price is due within 15 days of the date of that

     Order.

           (h)    Croft and Bender Fund. The Receivership Estate holds an

     interest in a Nashville, TN private equity fund. On December 7, 2021,

     a distribution in the amount of $38,793.89 was wired to the

     Receivership account, reflecting a distribution to the Receivership




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             Estate net of a capital call that Horizon missed in August, 2021.8 On

             October 15, 2021, Woods provided a value for Horizon’s net

             investment in this asset of $112,731.

                   (i)    Dynamo Fund I, L.P. The Receivership Estate holds an

             investment in a Nashville, TN based private equity fund. On October

             15, 2021, Woods provided a value for Horizon’s net investment in this

             asset of $408,412.

                   (j)    Dynamo-Skupos, LLC. The Receivership Estate holds an

             interest in a San Francisco based start-up company, which is a special

             purchase vehicle of Dynamo Fund, I, L.P. On October 15, 2021,

             Woods provided a value for Horizon’s net investment in this asset of

             $57,866.

                   (k)    Dynamo-Stord SPV III. The Receivership Estate holds an

             interest in a software driven warehousing and fulfillment company,

             which is a special purchase vehicle of Dynamo Fund, I, L.P. On

             October 15, 2021, Woods provided a value for Horizon’s net

             investment in this asset of $50,583.00.


8
      The Croft and Bender fund distributed a total of $5,708,478.66 to its investors,
of which 0.9218% was distributed to the Receivership Estate ($52,620.92), less the
amount of the missed capital call ($13,826.94).

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           (l)     East Brainard Partners LLC. The Receivership Estate

     owns a 50% interest in an entity that owns property located in

     Chattanooga, TN that is leased to Starbucks. This project is subject to

     a $3.7 million lien held by Southeast Bank.      On October 15, 2021,

     Woods provided a value for Horizon’s net investment in this asset of

     $1,292,288.

           (m)     EBES Partners LLC.      The Receivership Estate owns a

     50% interest in an entity formed to develop property that has been

     rezoned for an apartment complex. This development project is subject

     to a $2.7 million lien held by First Volunteer Bank. On October 15,

     2021, Woods provided a value for Horizon’s net investment in this asset

     of $2,794,167.

           (n)     Hardwood Sports LLC. The Receivership Estate owns a

     47.5% interest in an Atlanta based entity co-owned by an NFL agent.

     This entity holds a 25% interest in RecruitU, d/b/a Athletafied, a sports

     data collection firm. On October 15, 2021, Woods provided a value for

     Horizon’s net investment in this asset of $333,000.

           (o)     Highway 153 Partners LLC. The Receivership Estate

     owns a 50% interest in an entity formed to develop property in Hixson,


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     TN. This development project is subject to a $3.3 million lien held by

     Southeast Bank. On October 15, 2021, Woods provided a value for

     Horizon’s net investment in this asset of $1,961,497.

           (p)    Loan Receivable from Horizon Private Equity, LLC. The

     Receivership Estate is owed $25,000.00 relative to an outstanding loan

     made to Horizon Private Equity, LLC on August 31, 2020 that remains

     unpaid.

           (q)    Loan Receivable from James Woods. James Woods owes

     the Receivership Estate $15,000.00 on an outstanding loan.

           (r)    Loan Receivable from USA Sands LLC – The

     Receivership Estate is owed $50,000.00 on a loan to a company

     involved in bomb detection technology.

           (s)    MVP Studios, LLC. The Receivership Estate owns a 50%

     interest in an entity formed to find film locations in Atlanta, GA. On

     October 15, 2021, Woods provided a value for Horizon’s net

     investment in this asset of $163,000.

           (t)    Prepstar LLC. The Receivership Estate holds an interest

     in an entity that owns a Los Angeles based football magazine. On




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     October 15, 2021, Woods provided a value for Horizon’s net

     investment in this asset of $115,500.

           (u)      ProNvest, Inc. The Receivership Estate owns an interest

     in an entity that specializes in retirement planning and investment

     management. On October 15, 2021, Woods provided a value for

     Horizon’s net investment in this asset of $100,000.

           (v)      Relevance Capital, III, LP. The Receivership Estate owns

     an interest in a Tennessee based private equity fund. On October 15,

     2021, Woods provided a value for Horizon’s net investment in this asset

     of $427,500.

           (w)      The Shoppes of Valley Brook LLC. The Receivership

     Estate owns a 50% interest in an entity that owns four parcels in Hixson,

     TN, two of which are leased to third parties. This project is subject to

     liens of about $1.1 million held by First Volunteer Bank. On October

     15, 2021, Woods provided a value for Horizon’s net investment in this

     asset of $1,164,288.

           (x)      U.S. Sampleworks, LLC – The Receivership Estate owns

     an investment in a company involved in packaging. On October 15,




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     2021, Woods provided a value for Horizon’s net investment in this asset

     of $50,000.

           (y)     WW Outdoor Media, LLC – This entity completed a

     project and disbursed most profits to Horizon and other interest holders

     before the date of the Receivership. The Receivership Estate holds an

     interest in a final disbursement to be made after all wind down expenses

     have been paid, which the Receiver is informed will be less than $5,000.

     However, on October 15, 2021, Woods provided a value for Horizon’s

     net investment in this asset of $51,891.

           (z)     WW Partners LLC. The Receivership Estate owns a 50%

     interest in an entity that owns restaurant property in Hixson, TN that is

     currently leased to a third party. This project is subject to a $1.35

     million lien held by Pinnacle Bank.        On October 15, 2021, Woods

     provided a value for Horizon’s net investment in this asset of $522,308.

Woods’ Assets

     (1)   Southport Capital Interests. The Receivership Order provides

that Woods’ 66% majority interest in Southport Capital is included as a

Receivership Asset. During the Reporting Period, Southport Capital




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appointed a new board of directors that, in turn, engaged an investment

advisor to market Southport Capital’s assets for sale.

      Out of concern that third-party litigation and threats against Southport

Capital and its past and present officers and directors would diminish the value

of the Receivership’s interest in Southport Capital as well as deny the

Receiver the first crack at bringing claims against certain individuals, the

Receiver filed a motion requesting that the Court institute a temporary stay of

litigation claims against Southport Capital and those who have been or are

currently associated with that entity. (Doc. No. 107). On December 13, 2021,

the Court entered an Order granting the Receiver’s motion for a stay of actions

against Southport Capital, its past or present officers, directors, managers,

agents, employees, advisors, general or limited partners who may be sued for

or in connection with any action taken by them while acting in such capacity

for a period of 180 days. (Doc. No. 113).

      (2)    Southport Capital Risk Management Interests. The Receivership

Estate owns Woods’s 79% interest in Southport Capital Risk Management,

which presented certain challenges to the Receiver during the Reporting

Period. After threatening to bring a collection action relative to non-payment

defaults, counsel for IBERIABANK agreed to give the Receiver 30 days to


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assess the issues related to the bank’s position. Thereafter, IBERIABANK

insisted on a one-time payment of $40,000 with monthly payments of $15,000

to follow. The Receiver is informed that those payments were current as of

the close of the Reporting Period.

      Meanwhile, the Receiver learned that a note holder was attempting to

declare a non-payment default and accelerate the amount due under that note.

Ultimately, the parties determined that a walk-away agreement would serve

them best, and a settlement to that effect was in the final stages of negotiation

at the close of the Reporting Period.

      Also during the Reporting Period, the manager for Southport Capital

Risk Management resigned, and a new manager was appointed. This entity’s

business substantially declined based in part on the loss of most of its agents.

      (3)    Chattanooga Baseball Interests. During the Reporting Period,

the Chattanooga Baseball Interests included in the Receivership Estate were

liquidated. At the close of the prior reporting period, the Receiver filed her

Motion for Authority to Honor Notice of Redemption of Interests in

Chattanooga Professional Baseball, LLC (the “Baseball Motion”) relative to

Woods’s 20.12% interest in Chattanooga Professional Baseball, LLC

(“CPB”). (Doc. No. 71). The Court entered an Order granting the Baseball


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      Motion on October 21, 2021 (Doc. No. 81), and, on November 24, 2021, after

      the appeal period relative to the Order had run, $1,875,684.00 for the interest

      in CPB was wired to the Receivership Estate account.

      E.       Description of Claims Held by the Receivership Estate.

            At this stage of the case, the Receiver has obtained some information as to

potential claims against third parties but has not determined which claims would be

appropriate to pursue. The Receiver is unaware whether there were any net winner

investors in Horizon. The Receiver’s review of potential claims will be ongoing.

      During the Reporting Period, Southport Capital settled any claims it may have

against its former interim chief executive officer, Clay Parker, and his assistant,

Corey Higby, pursuant to a settlement agreement that called for payments to

Southport Capital over two years. The settlement between Parker, Higby, and

Southport Capital contemplated that the Receiver would request Court authority to

execute a limited release of Messrs. Parker and Higby concerning conduct occurring

post-receivership. The Receiver will file a motion to that effect in the next reporting

period.

      F.       List of Known Creditors.

      (1)      Investors. The Receiver has obtained an investor list that was prepared

by Provident Trust and filed in this case by the SEC in connection with its Plaintiff’s


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Motion for a Temporary Restraining Order and Other Emergency Relief filed on

August 20, 2021. (Doc. No. 2). Thus far, the Receiver has not identified any

Horizon investors whose names do not appear on that list.

      Once the Receiver’s accountants have completed their initial accounting

relative to investor funds, the Receiver will request authority to file a summary of

that information under seal to protect investor privacy.

      (2)    Secured Creditors.    As noted above, IBERIABANK holds a lien

secured by the Atlanta Office property. The $6,216.13 monthly payments on that

loan are current.

      (3)    Vendors. The Receiver incurred expenses in connection with certain

repairs made to the Greenville Office, which were paid in full in the ordinary course.

      Other expenses attributable to the Receivership Estate were billed to and paid

by the Receiver’s law firm. Those expenses will be detailed in the firm’s application

for compensation.

      (4)    Other Creditors. The Receiver did not identify any other creditors

during the Reporting Period.

      G.     Status of Claims Proceedings.

      The Receiver contemplates proposing a claims allowance process and

distribution procedures for Court approval at the appropriate time. Distributions will


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be made with Court authority.

      H.    Discovery and Litigation Matters.

      With respect to the SEC’s litigation that initiated this case, the Receiver

consented to an Order extending the time for Southport Capital to file its answer to

the Complaint (Doc. No. 88), and on November 9, 2021, Southport Capital did file

its answer in accordance with that Order. (Doc. No. 97). On November 2, 2021,

Woods filed his answer to the SEC’s complaint. (Doc. No. 90).

      On December 3, 2021, the Court granted Woods’s request for an extension of

the permitted legal fees and personal expenses that had been approved by the Court

on September 1, 2021.      (Doc. No. 110).     Meanwhile, Woods’s deadline for

producing Horizon records to the Receiver was extended to January 7, 2022. (Doc

No. 96).

      The Receiver signed on to a joint preliminary report and discovery plan that

was filed on December 16, 2021. (Doc. No. 115). On December 20, 2021, the Court

entered its Scheduling Order, pursuant to which discovery is to be completed by

August 2, 2022. (Doc. No. 116).

      Woods’s attorneys turned over documents relative to Horizon that had been

in a storage unit in Atlanta, and the Receiver arranged to have those scanned so as

to add them to the database of documents for the Receivership case.


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      Case 1:21-cv-03413-SDG Document 124 Filed 01/13/22 Page 24 of 34




      I.     Receiver’s Recommendations.

      The Receiver is unable to predict when this Case might be ready to close given

the number of assets that must be liquidated and the fact that the Receiver will need

time to investigate any claims that the Receivership may hold. The Receiver intends

to deal with the complex issues regarding asset identification and liquidation,

investor claims and distributions, and investigations as to potential litigation in as

expeditious a manner as possible under the circumstances presented.

      Respectfully submitted, this 13th day of January, 2022.

                                 /s/ A. Cotten Wright
                                 A. Cotten Wright (NC Bar 28162)
                                 Receiver and Attorney for Receiver
                                 Grier Wright Martinez, PA
                                 521 E Morehead Street, Suite 440
                                 Charlotte, NC 28202
                                 (704) 332-0207
                                 cwright@grierlaw.com

                                 /s/ Lisa Boardman Burnette
                                 Lisa Boardman Burnette Georgia Bar No. 06192
                                 Local Counsel for Receiver
                                 Ragsdale Beals Seigler Patterson & Gray, LLP
                                 229 Peachtree St., NE, Suite 2400
                                 Atlanta, GA 30303-1629
                                 (404) 588-0500 (Telephone)
                                 lburnette@rbspg.com
Exhibits:
  A. Receipts and Disbursements
  B. List of Assets




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                          EXHIBIT A

        RECEIPTS AND DISBURSEMENTS REPORT
                          Case 1:21-cv-03413-SDG Document 124 Filed 01/13/22 Page 26 of 34

                                                             Form 2
                                                                                                                                                         Page: 1
                                             Cash Receipts And Disbursements Record
Case No.:              21-03413                                      Trustee Name:                        A. Cotten Wright (530670)
Case Name:             RECEIVER'S ACCOUNT, ESTATE OF                 Bank Name:                           Metropolitan Commercial Bank
                       HORIZON PRIVATE EQUITY, III, LLC              Account #:                           ******8298 Checking
Taxpayer ID #:         **-***6934                                    Blanket Bond (per case limit):       N/A
For Period Ending:     12/31/2021                                    Separate Bond (if applicable):       $0.00

    1            2                   3                                           4                                5                       6                        7

  Trans.    Check or       Paid To / Received From       Description of Transaction           Uniform       Deposit                 Disbursement          Account Balance
   Date      Ref. #                                                                          Tran. Code       $                           $

 09/09/21     {1}      TD AMERITRADE                 WIRE FROM HORIZON PRIVATE               1129-000      14,699,092.52                                       14,699,092.52
                                                     EQUITY
 09/10/21     {14}     IberiaBank                    Turnover of cash in bank account        1129-000           322,990.15                                     15,022,082.67
 09/15/21     101      PINNACLE BANK                 WW Partners LLC - Court-                2420-005                                         4,353.38         15,017,729.29
                                                     authorized payment, -2159
                                                     Stopped on 09/29/2021
 09/15/21     102      FIRST VOLUNTEER BANK          BI Developments II, LLC - Court-        2420-000                                         8,000.00         15,009,729.29
                                                     authorized payment for -0041
 09/15/21     103      FIRST VOLUNTEER BANK          The Shoppes of Valley Brook LLC         2420-000                                         4,027.00         15,005,702.29
                                                     - Court-authorized payment, -4881
 09/15/21     104      FIRST VOLUNTEER BANK          EBES Partners LLC - Court-              2420-004                                     30,087.00            14,975,615.29
                                                     authorized payment, -9740
                                                     Voided on 09/15/2021
 09/15/21     104      FIRST VOLUNTEER BANK          EBES Partners LLC - Court-              2420-004                                    -30,087.00            15,005,702.29
                                                     authorized payment, -9740
                                                     Voided: check issued on
                                                     09/15/2021
 09/15/21     105      FIRST VOLUNTEER BANK          BI Devleopments LLC - Court-            2420-000                                         5,000.00         15,000,702.29
                                                     authorized payment, -8363
 09/15/21     106      FIRST VOLUNTEER BANK          EBES Partners LLC - Court-              2420-000                                     30,078.00            14,970,624.29
                                                     authorized payment, -9740
 09/24/21     107      IBERIABANK                    Loan payment for Acct #-6990 -          4110-000                                         6,216.13         14,964,408.16
                                                     Vinings GA Office Condo
 09/24/21     108      VININGS MAIN OFFICE CONDO     Condo Fee for Acct # -5704              2420-005                                         1,069.02         14,963,339.14
                                                     Stopped on 10/14/2021
 09/24/21     109      SOUTHPORT CAPITAL             Reimbursement for Locksmith             2420-000                                          457.00          14,962,882.14
                                                     expense
 09/29/21              SOUTHPORT CAPITAL             Rent for September & October -                               15,000.00                                    14,977,882.14
                                                     Greenville & Vinings Offices
              {35}                                   Sept & Oct rent - Vinings               1222-000
                                                                             $12,000.00
              {34}                                   Sept & Oct KY rent                      1222-000
                                                                                 $3,000.00
 09/29/21     101      PINNACLE BANK                 WW Partners LLC - Court-                2420-005                                     -4,353.38            14,982,235.52
                                                     authorized payment, -2159
                                                     Stopped: check issued on
                                                     09/15/2021
 09/29/21     110      PINNACLE BANK                 WW Partners LLC - Court-                2420-000                                         4,353.38         14,977,882.14
                                                     authorized payment, -2159
 09/29/21     111      VININGS MAIN OFFICE CONDO     3621 Vinings Slope SE, Ste 4450,        2420-000                                         1,034.02         14,976,848.12
                                                     Acct #365704 - October
                                                     Association Fee
 10/05/21     112      TRUSTEE INSURANCE             Policy #RMP 4700203 - Property          2420-000                                          664.88          14,976,183.24
                       AGENCY, INC.                  Insurance on Greenville, KY &
                                                     Atlanta properties
 10/12/21     113      STRETTO                       Retainer per Services Agreement,        3992-000                                     10,000.00            14,966,183.24
                                                     Order DE 67
 10/14/21     108      VININGS MAIN OFFICE CONDO     Condo Fee for Acct # -5704              2420-005                                     -1,069.02            14,967,252.26
                                                     Stopped: check issued on
                                                     09/24/2021
 10/14/21     114      VININGS MAIN OFFICE CONDO     Replaces Check #108 for Sept            2420-005                                         1,069.02         14,966,183.24
                                                     2021 Condo Fee
                                                     Stopped on 10/28/2021
 10/27/21              SOUTHPORT CAPITAL             Rent payments for KY and Atlanta                                 7,500.00                                 14,973,683.24
                                                     Offices


                                                                                        Page Subtotals: $15,044,582.67                 $70,899.43


{ } Asset Reference(s)                                                                                                           ! - transaction has not been cleared
                           Case 1:21-cv-03413-SDG Document 124 Filed 01/13/22 Page 27 of 34

                                                               Form 2
                                                                                                                                                        Page: 2
                                               Cash Receipts And Disbursements Record
Case No.:              21-03413                                        Trustee Name:                        A. Cotten Wright (530670)
Case Name:             RECEIVER'S ACCOUNT, ESTATE OF                   Bank Name:                           Metropolitan Commercial Bank
                       HORIZON PRIVATE EQUITY, III, LLC                Account #:                           ******8298 Checking
Taxpayer ID #:         **-***6934                                      Blanket Bond (per case limit):       N/A
For Period Ending:     12/31/2021                                      Separate Bond (if applicable):       $0.00

    1            2                     3                                        4                                   5                    6                        7

  Trans.    Check or        Paid To / Received From       Description of Transaction          Uniform         Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                          Tran. Code         $                        $

              {34}                                    Rent for Greenville, KY Office          1222-000
                                                                                 $1,500.00
              {35}                                    Rent for Atlanta Office                 1222-000
                                                                                 $6,000.00
 10/27/21     115      IBERIABANK                     Horizon Private Equity III LLC -        4110-000                                       6,216.13         14,967,467.11
                                                      Acct # -6990
 10/28/21     114      VININGS MAIN OFFICE CONDO      Replaces Check #108 for Sept            2420-005                                   -1,069.02            14,968,536.13
                                                      2021 Condo Fee
                                                      Stopped: check issued on
                                                      10/14/2021
 10/28/21     116      VININGS MAIN OFFICE            Acct # 365704 / Oct 2021                2420-000                                       1,034.02         14,967,502.11
                       CONDOMINIUM ASSOCIATION
                       INC.
 11/03/21     117      CITY OF GREENVILLE             2021 Taxes - Acct # 22481-1 - 112       3110-000                                        482.16          14,967,019.95
                                                      Mill St
 11/03/21     118      COMFORT PROS HEADINT &         Invoice #2394 - Southport Capital,      3110-004                                         95.00          14,966,924.95
                       COOLING LLC                    112 Mill Street, Greenville, KY
                                                      Voided on 11/03/2021
 11/03/21     118      COMFORT PROS HEADINT &         Invoice #2394 - Southport Capital,      3110-004                                         -95.00         14,967,019.95
                       COOLING LLC                    112 Mill Street, Greenville, KY
                                                      Voided: check issued on
                                                      11/03/2021
 11/03/21     119      COMFORT PROS HEATING &         Invoice #2394 - Southport Capital -     3110-000                                         95.00          14,966,924.95
                       COOLING LLC                    112 Mill Street, Greenville, KY
 11/09/21     120      VININGS MAIN OFFICE            Account #365704 - 3621 Vinings          2420-005                                       1,034.02         14,965,890.93
                       CONDOMINIUM ASSOCIAITON        Slope SE, STE #4450
                       INC.                           Stopped on 11/29/2021
 11/22/21     121      IBERIABANK                     Account No. -6990                       4110-000                                       6,216.13         14,959,674.80
 11/24/21     {8}      Chattanooga Professional       WIRE FROM CHATTANOOGA                   1129-000        1,875,684.00                                    16,835,358.80
                       Baseball, LLC                  PROFESSIONA
 11/29/21     120      VININGS MAIN OFFICE            Account #365704 - 3621 Vinings          2420-005                                   -1,034.02            16,836,392.82
                       CONDOMINIUM ASSOCIAITON        Slope SE, STE #4450
                       INC.                           Stopped: check issued on
                                                      11/09/2021
 11/29/21     122      VININGS MAIN OFFICE            Acct. #365704, 3621 Vinings Slope       2420-000                                       1,034.02         16,835,358.80
                       CONDOMINIUM ASSOCIAITON        SE STE #4450
                       INC.
 11/29/21     123      VININGS MAIN OFFICE            Acct #365704 -3621 Vinings Slope        2420-000                                       1,034.02         16,834,324.78
                       CONDOMINIUM ASSOCIAITON        SE, STE #4450 - REPLACEMENT
                       INC.                           FOR #120
 12/01/21     {7}      Bill Lind                      Deposit toward purchase of              1129-000              25,000.00                                 16,859,324.78
                                                      interest in BWHC
 12/02/21     124      GRIER WRIGHT MARTINEZ PA       Receiver's attorneys' fees &                                                       93,290.75            16,766,034.03
                                                      expenses, Order DE 105
                       GRIER WRIGHT MARTINEZ PA       Receiver's attorneys' fees, Order       3110-000
                                                      DE 105
                                                                                $88,074.97
                       GRIER WRIGHT MARTINEZ PA       Receiver's attorneys' expenses,         3120-000
                                                      Order DE 105
                                                                                 $5,215.78
 12/02/21     125      MIDDLESWARTH BOWERS &          Receiver's accountants' fees,           3410-000                                       4,189.50         16,761,844.53
                       COMPANY                        Order DE 104
 12/02/21     126      Ragsdale, Beals, Seigler,      Receiver's attorneys' fees &                                                           2,190.62         16,759,653.91
                       Patterson & Gray, LLP          expenses, Order DE 103



                                                                                          Page Subtotals:   $1,900,684.00            $114,713.33


{ } Asset Reference(s)                                                                                                          ! - transaction has not been cleared
                           Case 1:21-cv-03413-SDG Document 124 Filed 01/13/22 Page 28 of 34

                                                                 Form 2
                                                                                                                                                              Page: 3
                                                 Cash Receipts And Disbursements Record
Case No.:              21-03413                                              Trustee Name:                     A. Cotten Wright (530670)
Case Name:             RECEIVER'S ACCOUNT, ESTATE OF                         Bank Name:                        Metropolitan Commercial Bank
                       HORIZON PRIVATE EQUITY, III, LLC                      Account #:                        ******8298 Checking
Taxpayer ID #:         **-***6934                                            Blanket Bond (per case limit):    N/A
For Period Ending:     12/31/2021                                            Separate Bond (if applicable):    $0.00

    1            2                      3                                           4                                  5                       6                        7

  Trans.    Check or        Paid To / Received From           Description of Transaction           Uniform       Deposit                 Disbursement          Account Balance
   Date      Ref. #                                                                               Tran. Code       $                           $

                       Ragsdale, Beals, Seigler,          Receiver's attorneys' fees              3210-000
                       Patterson & Gray, LLP
                                                                                    $1,847.00
                       Ragsdale, Beals, Seigler,          Receiver's attorneys' expenses          3220-000
                       Patterson & Gray, LLP
                                                                                        $343.62
 12/03/21              SOUTHPORT CAPITAL                  Rent for Atlanta and Greenville, KY                              7,500.00                                 16,767,153.91
                                                          offices
              {34}                                        Rent for December - Greenville          1222-000
                                                          Office
                                                                                    $1,500.00
              {35}                                        Rent for December - Atlanta Office      1222-000
                                                                                    $6,000.00
 12/07/21     {9}      C and B Capital III (PF), L.P.     WIRE FROM C AND B CAPITAL               1129-000             38,793.89                                    16,805,947.80
                                                          III - Croft & Bender Fund
 12/14/21     127      MUHLENBERG COUNTY                  2021 Property Taxes - 112 Mill St,      2820-000                                         1,471.80         16,804,476.00
                       SHERIFF                            Greenville, KY
 12/14/21     128      COBB COUNTY TAX                    2021 Property Taxes - 3610 Twin         2820-000                                         5,674.41         16,798,801.59
                       COMMISSIONER                       Lakes Dr, Ste 4450 / 3621 Vinings
                                                          Slope SE Suite 4450
 12/14/21     129      JOE GIBSON                         Repair to handrail - 112 Mill St,       2420-000                                          100.00          16,798,701.59
                                                          Greenville, KY
 12/16/21     130      JON MCKINNEY ELECTRIC              Repair at 112 Mill St, Greenville,      2420-000                                           91.50          16,798,610.09
                                                          KY
 12/16/21     131      VININGS MAIN OFFICE                Acct #365704 - Horizon Private          2420-000                                         1,034.02         16,797,576.07
                       CONDOMINIUM ASSOCIAITON            Equity III LLC
                       INC.
 12/16/21     132      IBERIABANK                         Acct #******6990                        4110-000                                         6,216.13         16,791,359.94
 12/23/21     {20}     LISA WHEELER-TRENT                 Down payment on purchase of             1110-000                 5,500.00                                 16,796,859.94
                                                          Greenville, KY property
 12/29/21     133      TRUSTEE INSURANCE                  Insurance premium - Policy              2420-000                                         ! 664.88         16,796,195.06
                       AGENCY, INC.                       #RMP4700203

                                            COLUMN TOTALS                                                       16,997,060.56                 200,865.50           $16,796,195.06
                                                   Less: Bank Transfers/CDs                                                    0.00                    0.00
                                            Subtotal                                                            16,997,060.56                 200,865.50
                                                   Less: Payments to Debtors                                                                           0.00

                                            NET Receipts / Disbursements                                       $16,997,060.56                $200,865.50




{ } Asset Reference(s)                                                                                                                ! - transaction has not been cleared
                        Case 1:21-cv-03413-SDG Document 124 Filed 01/13/22 Page 29 of 34

                                                       Form 2
                                                                                                                              Page: 4
                                       Cash Receipts And Disbursements Record
Case No.:           21-03413                              Trustee Name:                    A. Cotten Wright (530670)
                    RECEIVER'S ACCOUNT, ESTATE OF
Case Name:                                                Bank Name:                       Metropolitan Commercial Bank
                    HORIZON PRIVATE EQUITY, III, LLC
                                                          Account #:                       ******8298 Checking
Taxpayer ID #:      **-***6934
                                                          Blanket Bond (per case limit): N/A
For Period Ending: 12/31/2021
                                                          Separate Bond (if applicable): $0.00


                                       Net Receipts:    $16,997,060.56
                           Plus Gross Adjustments:               $0.00
                         Less Payments to Debtor:                $0.00
                 Less Other Noncompensable Items:                $0.00

                                         Net Estate:    $16,997,060.56




                                                                                                 NET                   ACCOUNT
                                 TOTAL - ALL ACCOUNTS                  NET DEPOSITS         DISBURSEMENTS              BALANCES
                                 ******8298 Checking                      $16,997,060.56           $200,865.50          $16,796,195.06

                                                                          $16,997,060.56             $200,865.50          $16,796,195.06
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                          EXHIBIT B

                       ASSET REPORT
                              Case 1:21-cv-03413-SDG Document 124 Filed 01/13/22 Page 31 of 34

                                                                Form 1
                                            Individual Estate Property Record and Report                                                                                  Page: 1

                                                             Asset Cases
Case No.:  21-03413                                                                                      Trustee Name:      (530670) A. Cotten Wright
Case Name:    RECEIVER'S ACCOUNT, ESTATE OF HORIZON                                                      Date Filed (f) or Converted (c):       09/01/2021 (f)
              PRIVATE EQUITY, III, LLC
                                                                                                         § 341(a) Meeting Date:
For Period Ending:           12/31/2021                                                                  Claims Bar Date:

                                    1                              2                    3                     4               5                   6                 7               8

                        Asset Description                       Petition/       Estimated Net Value        Property      Sale/Funds          Asset Fully       Lien Amount      Exempt
             (Scheduled And Unscheduled (u) Property)         Unscheduled      (Value Determined By        Formally    Received by the    Administered (FA)/                    Amount
                                                                 Values               Trustee,            Abandoned        Estate          Gross Value of
                                                                                    Less Liens,           OA=§554(a)                      Remaining Assets
                                                                                    Exemptions,            abandon.
  Ref. #                                                                         and Other Costs)

   1*       Cash in TD Ameritrade Account (See Footnote)       14,698,943.83                      0.00                   14,699,092.52                   FA              0.00           0.00


   2*       Athletafied - 25% interest in RecruitU d/b/a         100,000.00                 100,000.00                             0.00          453,000.00              0.00           0.00
            Athletafied (See Footnote)

   3*       Battlefield Parkway Partners LLC - 50% interest     1,412,033.92                      0.00                             0.00          924,782.84      5,150,882.93           0.00
            (See Footnote)

   4*       BI Developments II LLC - 50% interest (See          2,000,000.00                      0.00                             0.00         1,206,580.33     2,984,143.96           0.00
            Footnote)

   5*       BI Developments III LLC - 70% interest (See          500,000.00                 122,958.34                             0.00          126,000.00       377,041.66            0.00
            Footnote)

   6*       BI Developments LLC - 40% interest (See             1,500,000.00                      0.00                             0.00          473,008.33      1,656,416.66           0.00
            Footnote)

   7*       BW Hunting Club, LLC - 50% interest (See            1,500,000.00            1,500,000.00                         25,000.00           126,935.00              0.00           0.00
            Footnote)

   8*       Chattanooga Professional Baseball, LLC -            2,000,000.00                      0.00                     1,875,684.00                  FA              0.00           0.00
            20.12% interest (See Footnote)

   9*       Croft & Bender Fund Investment (See Footnote)        163,055.00                 163,055.00                       38,793.89             73,937.12             0.00           0.00


   10*      East Brainerd Partners LLC - 50% interest (See      2,491,949.83                      0.00                             0.00         1,292,288.38     3,700,000.00           0.00
            Footnote)

   11*      EBES Partners LLC - 50% interest (See               3,000,000.00                284,121.12                             0.00         2,794,167.45     2,715,878.88           0.00
            Footnote)

   12*      Hardwood Sports LLC - 50% interest (See              500,000.00                 500,000.00                             0.00          333,000.00              0.00           0.00
            Footnote)

   13*      Highway 153 Partners LLC - 50% interest (See        2,472,132.90                      0.00                             0.00         1,961,496.78     1,365,000.00           0.00
            Footnote)

   14*      IberiaBank Account (See Footnote)                    350,000.00                       0.00                      322,990.15                   FA              0.00           0.00


   15*      Lakewood Ranch Risk Management LLC - 60%            1,500,000.00                      0.00                             0.00                 0.00             0.00           0.00
            (See Footnote)

   16*      Dynamo Fund I, L.P. (See Footnote)                  1,538,018.00                      0.00                             0.00          408,412.35              0.00           0.00


   17*      Birchwood II, LLC - 30% interest (See Footnote)     2,000,000.00                342,155.00                             0.00          330,874.35      1,657,845.00           0.00


   18*      Livingston Group Asset Management Co. d/b/a        34,000,000.00                      0.00                             0.00         5,669,641.00             0.00           0.00
            Southport Capital - 66% interest (See Footnote)

   19*      MVP Studios, LLC - 50% interest (See Footnote)       163,000.00                 163,000.00                             0.00          163,000.00              0.00           0.00


   20*      112 Mill Street, Greenville, KY 42335 (See           150,000.00                 150,000.00                         5,500.00          104,500.00              0.00           0.00
            Footnote)

   21*      3621 Vinings Slope SE, Suite 4450, Atlanta, GA       550,000.00                       0.00                             0.00          328,177.08       867,887.55            0.00
            30339 (See Footnote)

   22*      Prepstar LLC (See Footnote)                          500,000.00                       0.00                             0.00          115,500.00              0.00           0.00


   23*      ProNvest, Inc. (See Footnote)                        300,000.00                       0.00                             0.00          100,000.00              0.00           0.00


   24*      The Shoppes of Valley Brook LLC - 50% interest      1,500,000.00                      0.00                             0.00         1,164,287.99     1,089,245.85           0.00
            (See Footnote)

   25*      Dynamo-Skupos, LLC investment (See                   100,000.00                 100,000.00                             0.00            57,866.00             0.00           0.00
            Footnote)
                             Case 1:21-cv-03413-SDG Document 124 Filed 01/13/22 Page 32 of 34

                                                                Form 1
                                            Individual Estate Property Record and Report                                                                                 Page: 2

                                                             Asset Cases
Case No.:  21-03413                                                                                      Trustee Name:      (530670) A. Cotten Wright
Case Name:    RECEIVER'S ACCOUNT, ESTATE OF HORIZON                                                      Date Filed (f) or Converted (c):      09/01/2021 (f)
              PRIVATE EQUITY, III, LLC
                                                                                                         § 341(a) Meeting Date:
For Period Ending:           12/31/2021                                                                  Claims Bar Date:

                                    1                               2                    3                    4              5                   6                 7               8

                        Asset Description                        Petition/       Estimated Net Value       Property      Sale/Funds         Asset Fully       Lien Amount      Exempt
             (Scheduled And Unscheduled (u) Property)          Unscheduled      (Value Determined By       Formally    Received by the   Administered (FA)/                    Amount
                                                                  Values               Trustee,           Abandoned        Estate         Gross Value of
                                                                                     Less Liens,          OA=§554(a)                     Remaining Assets
                                                                                     Exemptions,           abandon.
  Ref. #                                                                          and Other Costs)

   26*      Dynamo-Stord SPV III (See Footnote)                     75,000.00                75,000.00                            0.00            50,583.00             0.00            0.00


   27*      WW Partners LLC - 50% interest (See Footnote)         627,770.98                      0.00                            0.00          522,208.66      1,350,000.00            0.00


   28*      Relevance Capital III, LP investment (See             921,016.00                      0.00                            0.00          427,500.00              0.00            0.00
            Footnote)

   29*      Loan Receivable from USA Sands LLC (See                      0.00                     0.00                            0.00            50,000.00             0.00            0.00
            Footnote)

   30*      U.S. Sampleworks, LLC (See Footnote)                         0.00                     0.00                            0.00            50,000.00             0.00            0.00


   31*      Loan Receivable from James Woods (See                        0.00                     0.00                            0.00            15,000.00             0.00            0.00
            Footnote)

   32*      WW Outdoor Media, LLC (See Footnote)                         0.00                     0.00                            0.00            51,891.05             0.00            0.00


   33*      Loan Receivable from Horizon Private Equity,                 0.00                     0.00                            0.00            25,000.00             0.00            0.00
            LLC (See Footnote)

   34*      Rent - 112 Mill Street, Greenville, KY 42335 (u)             0.00                     0.00                        6,000.00                 0.00             0.00            0.00
            (See Footnote)

   35*      Rent - 3621 Vinings Slope SE, Suite 4450,                    0.00                     0.00                       24,000.00                 0.00             0.00            0.00
            Atlanta, GA 30339 (u) (See Footnote)

                                                               $76,612,920.46          $3,500,289.46                    $16,997,060.56       $19,399,637.71   $22,914,342.49           $0.00
  35        Assets Totals (Excluding unknown values)


         RE PROP# 1            Turnover of cash in TD Ameritrade account held in Horizon's name. Original value was provided by John Woods.

         RE PROP# 2            Revised value for net amount invested provided by John Woods on 10-15-21 relative to a $110,000 investment in RecruitU
                               d/b/a Athletafield, a sports data-collection company that tests skills of high school athletes, plus a loan of $343,000 for a total
                               net amount invested of $453,000. Original value was provided by John Woods.
         RE PROP# 3            Revised value for net amount invested provided by counsel to John Woods on 10-15-21 relative to a 50% interest in strip
                               center property located at 2705 Battlefield Pkwy, Fort Oglethorpe, GA. Financed by First Volunteer Bank, loan #110098564.
                               Lien amount is payoff quote as of 8/30/2021 and reflects lien on the entire project, not just Horizon's interest. Horizon equity
                               interest to be paid after bank and before other distributions. Original value for Horizon's interest (only) was provided by John
                               Woods.
         RE PROP# 4            Documentation of 50% interest in this asset was provided on 10/21/2021. Revised value for net amount invested provided
                               by John Woods on 10-15-21 relative to interest in development of a former Sears store in Chattanooga that is leased to
                               Petco. Financed by First Volunteer Bank, loan #120029242. Lien amount is payoff as of 8/27/2021 and reflects lien on the
                               entire project, not just Horizon's interest. Original value for Horizon's interest (only) was provided by John Woods.
         RE PROP# 5            Revised value for net amount invested provided by John Woods on 10-15-21 relative to 70% interest in development in
                               Chattanooga, TN; parking lot of former Logan's Restaurant. Financed by First Volunteer Bank, loan #150021483. Lien
                               amount is payoff as of 9/8/2021 and reflects lien on the entire project, not just Horizon's interest. Value shown here is for
                               Horizon's interest (only) as provided by John Woods.
         RE PROP# 6            Documentation provided showing a 40% interest in this asset. Revised value for net amount invested provided by John
                               Woods on 10-15-21 relative to interest in development in a former JC Penny store in Chattanooga, TN. This property is to
                               be converted to a 300-unit multi-family housing development. Financed by First Volunteer Bank, loan #120031093. Lien
                               amount is payoff as of 8/27/2021 and reflects lien on the entire project, not just Horizon's interest. Original value for
                               Horizon's interest (only) was provided by John Woods.
         RE PROP# 7            On 12/28/21, the Court entered an Order allowing for the sale of the Receivership's interest in this asset for a total price of
                               $151,935, DE 119. The buyer had provided a down payment of $25,000, leaving $126,935 due within 15 days of the Order.
                               That amount was wired to the Receivership account on 1/3/22. The real property owned by this entity is adjacent to property
                               owned by Birchwood II, LLC, a Hamilton County landfill. This land was purchased in 2017 for $356,000, and the timber has
                               been harvested. The plan for the property was to request that it be rezoned and used to increase the size of the adjacent
                               landfill. The original value shown here is for Horizon's interest (only) as provided by John Woods; the amount of the net
                               amount invested was revised by John Woods on 10/15/21 to $121,950.36.
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                                                   Form 1
                               Individual Estate Property Record and Report                                                                 Page: 3

                                                Asset Cases
Case No.:  21-03413                                                              Trustee Name:       (530670) A. Cotten Wright
Case Name:    RECEIVER'S ACCOUNT, ESTATE OF HORIZON                              Date Filed (f) or Converted (c):    09/01/2021 (f)
              PRIVATE EQUITY, III, LLC
                                                                                 § 341(a) Meeting Date:
For Period Ending:   12/31/2021                                                  Claims Bar Date:

     RE PROP# 8       Minority interest (20.12%) in entity that owns Chattanooga Lookouts baseball team. Financed by FirstBank. Originally
                      valued by John Woods at $2 million; net amount invested revised by counsel for John Woods on 10-15-21 to reflect
                      $1,991,850.00. Value shown here reflects the amount of John Woods's capital account as set out in the motion for authority
                      to honor redemption of this interest free and clear of FirstBank's lien that was filed on September 30, 2021 (DE 71). Order
                      authorizing redemption entered on 10/21/21, DE 81.
     RE PROP# 9       Revised value for net amount invested provided by John Woods on 10-15-21 relative to investment in Nashville, TN based
                      private equity fund A post-receivership capital call was not met, and the investment commitment has not been fully paid.
                      Original value was provided by John Woods.
     RE PROP# 10      Revised value of net amount invested provided by John Woods on 10-15-21 relative to 50% interest in strip center located at
                      8021 East Brainerd Road, Chattanooga, TN that is leased to Starbucks, Cell Surgeon; Crumbl; Pacific Dental; Pure Nail Spa;
                      one vacant unit. Subject to lien held by Southeast Bank, loan #171622832; original balance was $3.7 million. Lien amount
                      shown reflects the lien on the entire project, not just Horizon's interest. Horizon interest to be paid first after bank, before
                      other distributions. Original value for Horizon's interest (only) was provided by John Woods.
     RE PROP# 11      Revised value of net amount invested provided by John Woods on 10-15-21 relative to 50% Interest in property that was
                      rezoned for apartment complex; development work has not started. Financed by First Volunteer Bank loan #120030283.
                      Lien amount is payoff as of 8/27/2021 and reflects lien on the entire project, not just Horizon's interest. Original value for
                      Horizon's interest (only) was provided by John Woods.
     RE PROP# 12      Revised value for net amount invested provided by John Woods on 10-15-21 relative to 50% interest in Atlanta based LLC
                      co-owned by NFL agent. Entity has a 25% interest in RecruitU, d/b/a Athletafied, a sports data collection firm. Original value
                      was provided by John Woods.
     RE PROP# 13      Revised value for net amount invested provided by John Woods on 10-15-21 relative to 50% interest in entity that owns
                      property at 5513 Highway 153, Hixson, TN. Subject to lien of Southeast bank, loan #171648763 in original amount of
                      $1,365,000. Lien amount shown reflects lien on the entire project, not just Horizon's interest. Horizon to receive its equity
                      interest after bank and before other distributions are made. Original value for Horizon's interest (only) was provided by John
                      Woods.
     RE PROP# 14      Cash in account at IberiaBank; turned over to receivership on 9/10/21.

     RE PROP# 15      Value of net amount invested in John Woods' 79% membership interest in Florida-based insurance company was updated to
                      $0.00 by counsel for Woods on 10-15-21. Original value was provided by John Woods.
     RE PROP# 16      Value of net amount invested in investment in Nashville, TN based private equity fund was updated by John Woods on 10-
                      15-21. Original value was provided by John Woods.
     RE PROP# 17      Revised value for net amount invested provided John Woods on 10-15-21 relative to a 30% interest in operating landfill on
                      25 acres at 9327 Birchwood Pike, Hamilton, TN. Entity is subject to liens held by Pinnacle Bank. Lien value shown as of
                      9/30/2021; plus i/o/a of $1,099,712. Lien amount shown reflects lien on the entire project and not just Horizon's interest.
                      Original value for Horizon's interest (only) was provided by John Woods.
     RE PROP# 18      John Woods provided a revised value of $5,556,641 for his 66% membership interest in Southport Capital on 10-15-21. The
                      original $34 million value also was provided by John Woods.
     RE PROP# 19      50% interest in Atlanta film formed to find film locations in Atlanta, GA. Value shown here for net amount invested was
                      provided by John Woods.
     RE PROP# 20      Office building in Greenville, KY. Leased to Southport Capital for $1500 per month. Not subject to a lien. Value shown
                      here is for the net investment provided by John Woods.
     RE PROP# 21      Revised value of net amount invested provided by counsel for John Woods on 10-15-21 relative to office condominium in,
                      Atlanta, GA. Leased to Southport Capital at $6,000/month. Subject to lien held by IberiaBank loan #5300616990. Also
                      subject to monthly condo association fees. Value shown was provided by John Woods.
     RE PROP# 22      Revised value for net amount invested provided by John Woods on 10-15-21 relative to investment in Los Angeles based
                      football magazine. Original value shown was provided by John Woods.
     RE PROP# 23      Revised value for net amount invested provided by John Woods on 10-15-21 relative to net amount invested in ProNvest, a
                      company that specializes in retirement planning and account management. This entity invested in SigniX is a Docusign
                      competition; companies have merged. Received an offer of $100,000 for Horizon's shares on 9/13/21. Original value was
                      provided by John Woods.
     RE PROP# 24      Revised value net amount invested provided by John Woods on 10-15-21 relative to 50% interest in Chattanooga
                      development consisting of four parcels in Hixson, TN: 5933 Hixson Pike (leased to a Jack's Hamburgers); 5925 Hixson Pike
                      (leased to a car wash); 5919 Hixson Pike; and 5943 Hixson Pike. Financed by First Volunteer Bank, loan #110100186 &
                      #110084334. Lien amount is total of two loans payout amounts as of 8/27/21 and reflects lien on the entire project, not just
                      Horizon's interest. Horizon equity to be paid after bank and before other distributions. Original value for Horizon's interest
                      (only) was provided by John Woods.
     RE PROP# 25      Revised value for net amount invested provided by John Woods on 10-15-21 relative to a 3.7944918% investment interest in
                      San Francisco-based start-up company, a SPV of Dynamo Fund I, LP. Initial investment was $60,000. Original value was
                      provided by John Woods.
     RE PROP# 26      Revised value for net amount invested of $50,583 provided by John Woods on 10-15-21 relative to investment in a SPV of
                      the Dynamo Fund - a "software driven warehousing and fulfillment company." Original value was provided by John Woods.
     RE PROP# 27      Revised value for net amount invested provided by John Woods on 10-15-21 relative to 50% interest in entity that owns
                      property at 5595 Highway 153, Hixson, TN, site of former Ruby Tuesday's, based on information. Leased to Applebee's per
                      a 25-year ground lease. Subject to a $1,350,000 lien held by Pinnacle Bank. Lien amount reflects lien on the entire project
                      and not just Horizon's interest. Original value for Horizon's interest (only) was provided by John Woods.
     RE PROP# 28      Revised value for net amount invested provided by John Woods on 10-15-21 relative to 3.676% interest in a Tennessee
                      based private equity fund; initial investment was $450,000. Original value was provided by John Woods.
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                                                     Form 1
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                                                  Asset Cases
Case No.:  21-03413                                                            Trustee Name:      (530670) A. Cotten Wright
Case Name:    RECEIVER'S ACCOUNT, ESTATE OF HORIZON                            Date Filed (f) or Converted (c):   09/01/2021 (f)
              PRIVATE EQUITY, III, LLC
                                                                               § 341(a) Meeting Date:
For Period Ending:    12/31/2021                                               Claims Bar Date:

     RE PROP# 29        This asset was added based on information provided by counsel for John Woods on 10-15-21. The asset was described as
                        a loan to a company involved in bomb-detection technology. The Promissory Note is dated 11/25/2019 in the amount of
                        $50,000.00; information is that no payments have been made.
     RE PROP# 30        This asset and the net amount invested added based on information provided by counsel for John Woods on 10-15-21.
                        Asset was described as an investment in a company involved in packaging.
     RE PROP# 31        This asset was added based on information from counsel for John Woods provided on 10-15-21. The value reflects amount
                        due on loan to James Woods.
     RE PROP# 32        This asset and net amount invested were added based on information from counsel for John Woods on 10-15-21. Based on
                        a letter of October 7, 2021, from counsel for Woods, this project has been completed and $125,250.54 was distributed to
                        Horizon before the date of the receivership. The final accounting has not been completed. Counsel for the entity has
                        indicated that less than $5000 will be distributed to the Receivership Estate once the winddown of the company has been
                        completed.
     RE PROP# 33        Loan made to Horizon Private Equity, LLC - this asset was added based on information provided by John Woods on 10-15-
                        21. Loan documentation was provided on 10/21/2021; Note is dated 8/31/2020 & no payments have been made.
     RE PROP# 34        Rent for Greenville, KY office.

     RE PROP# 35        Rent for Atlanta Office




Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




Initial Projected Date Of Final Report (TFR):                         Current Projected Date Of Final Report (TFR):
